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                                       February 16, 2024

Via ECF
The Honorable Katherine Polk Failla
United States District Judge
Southern District of New York
40 Foley Square
New York, NY 10007

Re:    Mullen Technologies, Inc. et al. v. Gem Global Yield LLC, et al. (No. 1:23-cv-11268-KFP);
       Plaintiffs’ Request to Provisionally File Document Under Seal

Dear Judge Failla:

We represent Plaintiffs Mullen Technologies, Inc. and Mullen Automotive, Inc. (together,
“Plaintiffs” or “Mullen”) in the above-referenced action. Pursuant to Rule 9(C) of the Court’s
Individual Rules of Practice in Civil Cases, we write to respectfully request permission to
provisionally file under seal Mullen’s Letter Motion in Opposition (the “Opposition”) to the
Request to Stay, ECF 26 (the “Motion”), filed by Defendants GEM Global Yield LLC SCS, GEM
Yield Bahamas Limited (together, “GEM”), and Christopher Brown.

As indicated in Defendants’ Request to Provisionally File Documents Under Seal, ECF 25, there
is an arbitration between GEM and Mullen captioned GEM Yield Bahamas Limited, et al. v. Mullen
Technologies, Inc., et al. (ICDR Case No. 01-21-0016- 7001) (the “Arbitration”), pursuant to
which GEM and Mullen, through their counsel of record, entered into a certain Stipulated
Confidentiality Agreement and Protective Order (“Confidentiality Agreement”). Mullen submits
that the Confidentiality Agreement is sufficiently broad in scope so as to warrant the filing of
Mullen’s Opposition under seal.

As such, Mullen respectfully requests that the Court provisionally permit the under-seal filing of
the Opposition. Mullen does not object to Defendants’ proposed briefing schedule for the
submission of a motion to permanently maintain under seal the papers filed in connection with the
Motion, see ECF 25 at 2.

Dated: February 16, 2024
                                                    Respectfully submitted,

                                                    THE BASILE LAW FIRM P.C.

                                                    /s/ Waleed Amer
                                                    Waleed Amer, Esq.
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Judge Katherine Polk Failla
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